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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

 SANDI STONE                                    *                  CIVIL ACTION

 VERSUS                                         *                  NO. 23-1741

 UNIVERSITY OF NEW ORLEANS                      *                  SECTION “R” (2)
 RESEARCH AND TECHNOLOGY
 FOUNDATION, INC., ET AL.                       *


                                             ORDER

       The Clerk is directed to place into the court record the attached email from counsel advising

the court that the parties have settled. Having been advised of their settlement,

       IT IS ORDERED that Plaintiff’s Motion to Compel Discovery Responses (ECF No.36) is

DENIED AS MOOT, and the oral argument scheduled for February 28, 2024, is hereby

CANCELLED.

       By copy of this Order, Judge Vance is advised so that she may enter an appropriate 60-day

conditional dismissal order.
                                         21st
       New Orleans, Louisiana, this ____________ day of February, 2024.



                                                     ___________________________________
                                                         DONNA PHILLIPS CURRAULT
                                                     UNITED STATES MAGISTRATE JUDGE

CLERK TO NOTIFY:
HON. SARAH S. VANCE
